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UN|TED STATES D|STR|CT COURT
D|STR|CT OF MASSACHUSETTS

CR|M|NAL NO. 16-10359-RWZ

UN|TED STATES OF AIV|ER|CA
V.

T|NA MAYNARD

ORDER

 

Apri| 19, 2019

ZOBEL, S. D.J.

Both parties have filed motions in limine. Fo||owing are the court’s rulings as to

those that are ripe.

l. Government’s Motions

> The motion to exclude the introduction of family photos (Docket # 136) is
DEN|ED, although the court reserves the right to limit the number of such
photographs as the trial prcgresses.

> The motion to exclude evidence of Specia| Agent Jason Donne|ly’s decision not
to interview Edward lV|aynard (Docket # 137) is ALLOWED lN PART and
DEN|ED |N PART. Defendant may question Specia| Agent Donne|ly regarding
the thoroughness of his investigation and the identity of those he interviewed.
Defendant may not invite the jury to speculate as to what Edward Maynard would

have said had Special Agent Donnel|y interviewed him.

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The motion to exclude records of joint bank accounts maintained by defendants
father and mother and any reference to such accounts (Docket # 138) is
reserved to the trial when the court, hopeful|y, will be better positioned to
determine the records’ relevance.

The motion to exclude evidence of the Socia| Security Administration’s Program
Operations Manual System (POlVlS) and argument mischaracterizing
defendants administrative rights (Docket # 142) is ALLOWED. Defendant’s
assertion that the Social Security Administration denied her the opportunity to
contest the overpayment determination administratively is irrelevant to the instant
prosecution

The motion to limit testimony of defendant’s expert witness, Dr. C|ionsky,
(Docket # 143) is ALLOWED. Because defendant is not asserting an
incompetency defense, expert testimony regarding her history of abuse by her
mother is improper Moreover, testimony regarding defendant’s interactions with
the Massachusetts Department of Socia| Services is irrelevant (a|though the
court notes that the government elicited such testimony on cross-examination in
the first trial).

The motion to preclude reference to defendant’s Nlay 29, 2015, statement to
Special Agent Jason Donnelly (Docket # 144) is ALLOWED. Defendant’s written
statement describes her past actions and beliefs and does not fit within Fed. R.

Evid. 803(3)’s hearsay exception.

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Defendant’s |Vlotions

For the same reason that the governments motion to preclude reference to
defendants lVlay 29, 2015, statement to Special Agent Jason Donne|ly (Docket #
144) is ALLOWED, defendants motion to admit that statement (Docket # 168) is
DEN|ED.

The motion to prevent the government from speculating as to defendants
knowledge of Gail lV|anemanus’ report to the Social Security Admlnistration
(Docket # 169) is DEN|ED AS lVlOOT in light of the governments representation
that it will not present testimony or evidence on this topic.

The motion to limit the testimony of government witnesses Nlark Smlth and
Susan Bonenfant (Docket # 170) is deferred to the trial when the court is better
positioned to evaluate counsel’s questions and the scope of each Witness’s

testimony.

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Date g Rya VV. Zobe|
Senior United States District Judge

